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                             IN THE UNITED STATES BANKRUPTCY COURT
                               FOR THE MIDDLE DISTRICT OF GEORGIA
                                       COLUMBUS DIVISION

IN RE: Anna Maria Allen,                          *     Chapter 13
          Debtor.                                 *     Case No. 14-41182

                      WITHDRAWAL OF MOTION TO MODIFY CHAPTER 13 PLAN

       COMES NOW, Anna Maria Allen, the above named Debtor and respectfully withdraws the

Motion to Modify Chapter 13 Plan filed on June 20, 2018.

       Respectfully submitted this the 31st day of July, 2018.



                                                         /s/ Valerie G. Long___________________
                                                        Valerie G. Long
                                                        Attorney for Debtor

3006 University Avenue
Columbus, Georgia 31907
(706) 940-0597
State Bar No. 457485
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                                          CERTIFICATE OF SERVICE

        I hereby certify that true copies of the foregoing Withdrawal of Motion to Modify Chapter 13

Plan have this day been mailed to the affected parties listed below, unless service was perfected

electronically by Electronic Bankruptcy Noticing:

                                           All Creditors Listed in Exhibit A

            in envelopes properly addressed, stamped and deposited in the United States Mail to insure

delivery.

        This 31st day of July, 2018.

                                                            /S/ Valerie G. Long_____________
                                                           Valerie G. Long
                                                           Attorney for Debtor

3006 University Avenue
Columbus, Georgia 31907
(706) 940-0597
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                                                      Exhibit A

Kristin Hurst               Douglas Sloan                    Jonathan Bender             Wells Fargo Card Services
Chapter 13 Trustee          Karen James                      818 Connecticut Ave., NW    1 Home Campus 3rd Floor
P.O. Box 1907               313 Nicholson Street NE          Suite 100                   Des Moines, IA 50328
Columbus, GA 31902-1907     Washington, DC 20011             Washington, DC 20006

Anna Maria Allen            Howard Haley & Haley Firm        Wells Fargo Card Services
P.O. Box 53375              7600 Georgia Avenue, NW          P.O. Box 9210
Ft. Benning, GA 31905       #405                             Des Moines, IA 50306
                            Washington, DC 20012
